Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 1 of 92




                        Exhibit 7
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 2 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 3 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 4 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 5 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 6 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 7 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 8 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 9 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 10 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 11 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 12 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 13 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 14 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 15 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 16 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 17 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 18 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 19 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 20 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 21 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 22 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 23 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 24 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 25 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 26 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 27 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 28 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 29 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 30 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 31 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 32 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 33 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 34 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 35 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 36 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 37 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 38 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 39 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 40 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 41 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 42 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 43 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 44 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 45 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 46 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 47 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 48 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 49 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 50 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 51 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 52 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 53 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 54 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 55 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 56 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 57 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 58 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 59 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 60 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 61 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 62 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 63 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 64 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 65 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 66 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 67 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 68 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 69 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 70 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 71 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 72 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 73 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 74 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 75 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 76 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 77 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 78 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 79 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 80 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 81 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 82 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 83 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 84 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 85 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 86 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 87 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 88 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 89 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 90 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 91 of 92
Case 3:23-cv-03417-VC   Document 395-8   Filed 01/15/25   Page 92 of 92
